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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC DIGOXIN AND            MDL NO. 2724
DOXYCYCLINE ANTITRUST                 16-MD-2724
LITIGATION
                                      HON. CYNTHIA M. RUFE


THIS DOCUMENT RELATES TO:

ALL DIRECT PURCHASER ACTIONS




 CERTAIN DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT
OF JOINT MOTION TO DISMISS DIRECT PURCHASER PLAINTIFFS’
    CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
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                                        INTRODUCTION

       Direct Purchaser Plaintiffs’ (“Plaintiffs”) Consolidated Amended Class Action Complaint

(the “CAC”) should be dismissed for two independent reasons. First, Plaintiffs’ alleged single

conspiracy involving both digoxin and doxycycline hyclate, two different drugs that have nothing

in common with each other, makes no sense and therefore is implausible under the standard set by

the Supreme Court in Twombly. Second, taken separately, Plaintiffs’ claims against digoxin sellers

and doxycycline sellers do not allege specific facts that suggest that these sellers’ conduct was the

result of an agreement rather than independent decision-making.

       Numerous plaintiffs have blanketed the generic drug industry with dozens of lawsuits

claiming that manufacturers of myriad different and distinct generic drugs have conspired to fix

the prices of those products. Here, however, Plaintiffs claim the existence of a single, over-arching

conspiracy to fix the price of both digoxin and doxyxycline.

       Yet those drugs are distinct and unrelated, rendering the over-arching conspiracy alleged

by Plaintiffs illogical. As alleged in the CAC, digoxin is a heart drug and doxycycline is an

antibiotic. Each is used to treat different conditions, prescribed for different patient populations,

by different companies, at different prices. Further, the doxycycline referred to in the CAC is

actually two separate products: an immediate-release version of doxycycline hyclate and a

delayed-release version known as “Doxy DR.”

       These distinctions matter. A majority of the Defendants—five out of nine— allegedly sold

only digoxin or only doxycycline, but not both. Moreover, two of the Defendants that sold

doxycycline sold only Doxy DR, but not the immediate-release version of doxycycline. Thus, any

claim that there was a single, over-arching conspiracy covering digoxin and both versions of

doxycycline is implausible because Defendants have no reason to engage in a conspiracy to fix
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prices of products they do not sell, and Plaintiffs can plead no facts to remedy this deficiency. Nor

should they be permitted to try.

       If Plaintiffs were allowed to proceed with their claim of a single conspiracy, Defendants

would not only face the risk of substantial prejudice from conflating evidence concerning digoxin

with evidence concerning doxycycline, but Defendants would potentially be jointly and severally

liable for alleged conduct related to the pricing of a drug that they did not even sell (and vice

versa). To sufficiently plead a single, over-arching conspiracy under Third Circuit law, Plaintiffs

must allege actual facts demonstrating a common purpose among Defendants, reliance on each

other and continuous cooperation among the otherwise distinct aspects of the alleged conspiracy,

and an overlap among Defendants and their activities. Essentially, Plaintiffs must allege facts

showing some logical connection or relationship between the alleged fixing of digoxin prices and

the alleged fixing of doxycycline prices. They do not even try, and their CAC should be dismissed

for this reason alone.

       The CAC should also be dismissed because Plaintiffs are unable to state a claim that

Defendants engaged in any conspiracy, single or separate, to fix the prices of either digoxin or

doxycycline individually. Under Twombly, they cannot state an antitrust conspiracy claim by

merely alleging that Defendants engaged in similar conduct and then asking the Court to infer that

the only explanation is a conspiracy, and yet that is exactly what Plaintiffs do here.

       The CAC contains no allegations that constitute direct evidence of a conspiracy, and most

of the allegations in the CAC do not even relate to digoxin or doxycycline. Those relatively few

allegations that do relate to digoxin or doxycycline are insufficient to plausibly suggest that

Defendants’ actions were the result of an alleged conspiracy as opposed to rational, independent

decision-making. The CAC also fails to allege any facts plausibly suggesting that Defendants




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engaged in parallel pricing conduct with respect to either product, instead relying on allegations

of average aggregate pricing, an approach that has been rejected by the Third Circuit and other

courts. Plaintiffs similarly fail to allege the existence of any “plus factors” that would push the

alleged conspiracy from merely “possible” to plausible. Instead, Plaintiffs ask the Court to

speculate regarding the existence of a specific conspiracy based on general allegations regarding

participation in trade association events, a few statements in earnings calls that say nothing about

any conspiracy, and the existence of government investigations involving the generic

pharmaceutical industry. The Court should decline this invitation and dismiss the CAC on this

ground as well.

                                      FACTUAL BACKGROUND

        A.       The Parties

        Plaintiffs are entities that claim to have “directly purchased generic digoxin and

doxycycline from one or more of the defendants.” CAC ¶¶ 27-30.

        Defendants Lannett Company, Inc. (“Lannett”), Impax Laboratories, Inc. (“Impax”), Par

Pharmaceutical, Inc. (“Par”), West-Ward Pharmaceuticals Corporation (“West-Ward”), Actavis

Holdco U.S., Inc. (“Actavis”), Sun Pharmaceutical Industries, Inc. (“Sun”), Mylan

Pharmaceuticals, Inc. (“Mylan”), and Mayne Pharma USA, Inc. (“Mayne”)1 (collectively,

“Defendants”)2 are pharmaceutical manufacturers that sell generic drugs in the United States.

They sell different pharmaceutical products to a range of direct purchaser customers, including

wholesalers, retail drug chains, distributors, and governmental agencies.


1
  The CAC identifies “Mayne Pharma USA, Inc.” as a defendant. CAC ¶ 39. That corporate entity does not exist.
The proper party is Mayne Pharma, Inc. Mayne’s counsel has informed Plaintiffs’ counsel of this inaccuracy, and
Plaintiffs’ counsel has agreed to name the proper Mayne entity in a future filing.
2
  Heritage Pharmaceuticals, Inc., Jeffrey Glazer and Jason Malek are also named as defendants in the CAC, but are
not parties to this motion.




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           Despite Plaintiffs’ claims that Defendants engaged in a single, unified conspiracy to fix the

prices of two products, generic digoxin and doxycycline,3 they allege that only four of the nine

Defendants sold both drugs. The remaining five Defendants sold only digoxin or doxycycline, but

not both. Lannett and Impax manufactured and sold generic digoxin during the Class Period,4 but

not doxycycline. Actavis, Heritage, and Mayne manufactured and sold various doses of generic

doxycycline, but not digoxin. Only Par, West-Ward, Sun, and Mylan are alleged to have

manufactured and sold both drugs at certain times during the Class Period. Moreover, among

Defendants, only Heritage, Mylan, and Mayne sold Doxy DR. CAC ¶¶ 31-39. The following

chart shows the products allegedly manufactured and/or sold by each Defendant:

                Defendants               Digoxin                  Doxycycline               Doxy DR5
          Lannett                            X
          Impax                              X
          Actavis                                                       X
          Heritage                                                                               X
          Mayne                                                                                  X
          Par                                X                          X
          West-Ward                          X                          X
          Sun6                               X                          X
          Mylan7                                                        X                        X

3
  Although the CAC defines “doxycycline” as “generic doxycycline hyclate, including the delayed release (‘Doxy
DR’) version of doxycycline hyclate,” in reality, a review of the CAC makes clear that when it comes to doxycycline,
regardless of how Plaintiffs define the drug, they are talking about two separate products, doxycycline hyclate and
Doxy DR. See, e.g., CAC ¶¶ 96, 98, 105-106, 114. The CAC defines “digoxin” as “doses of generic digoxin taken
orally in the form of a tablet or capsule.” See CAC ¶ 1 n. 1.
4
 The Class Period is defined in the CAC as “October 1, 2012 until the anticompetitive effects of defendants’ conduct
cease.” CAC ¶ 229.
5
 Defendants break out Doxy DR separately on this chart because the CAC actually describes doxycycline hyclate and
Doxy DR as two separate products. See supra n.2.
6
    Sun is alleged to have been out of the digoxin market until 2015. CAC ¶ 74.
7
    Mylan was out of the digoxin market until sometime in 2015. CAC ¶ 73.




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       B.      The Products Subject To The Alleged Conspiracy

       Not only are digoxin and doxycycline made and sold by different Defendants, they each

contain different active ingredients and are used to treat different and unrelated medical conditions

in different patient populations. There is no overlap in the uses for these drugs—digoxin is a heart

drug and doxycycline is an antibiotic.

               1.      Digoxin: a heart drug

       Digoxin is a purified cardiac glycoside derived from the ingredient digitalis lanata and is

used to treat heart failure and atrial fibrillation. CAC ¶ 66. Plaintiffs allege that various

pharmaceutical companies have manufactured generic versions of digoxin, but the number of

manufacturers can be hard to quantify at any given time as companies often enter or leave the

market; indeed, Plaintiffs themselves are unable to allege the exact number of digoxin

manufacturers during the Class Period. Id. ¶¶ 69-79, 86 (“During much of the Class Period, there

were at least three or more separate manufacturers of generic digoxin”) (emphasis added).

               2.      Doxycycline: an antibiotic

       In contrast to digoxin, doxycycline is a generic tetracycline antibiotic used to treat bacterial

infections including acne, urinary tract infections, eye infections, sexually transmitted diseases,

and intestinal infections, among other diseases. Id. ¶ 96. It is the generic version of the brand

drugs Vibramycin and Vibra-Tabs, developed by Pfizer in 1967 and 1980, respectively. Id. ¶ 99.

The relevant versions of doxycycline at issue in this case are doxycycline hyclate and Doxy DR.

Id. ¶ 96. As with digoxin, there have been a large number of generic manufacturers of doxycycline,

with “over 20 manufacturers” producing the drug “[a]t one point.” Id. ¶ 107. Again, Plaintiffs are

unable to allege the exact number of doxycycline manufacturers during the Class Period. Id. ¶ 112




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(“At all times during the Class Period, there were at least three or more separate manufacturers of

generic doxycycline.”).

       C.      Plaintiffs’ Claims

       Plaintiffs seek to represent a class of “persons or entities that directly purchased generic

digoxin and/or generic doxycycline from defendants in the United States or its territories” during

the Class Period. Id. ¶ 229. Plaintiffs claim that all Defendants entered into a single conspiracy

“to fix, raise, maintain, and stabilize prices at which generic digoxin and generic doxycycline

would be sold, allocate markets, and rig bids.” Id. ¶ 120. Plaintiffs, however, allege no direct

evidence of such a conspiracy. Instead, Plaintiffs rely entirely on allegations of what they contend

constitute circumstantial evidence of conspiracy.

       The alleged circumstantial evidence includes: (1) parallel pricing conduct (although, as

explained below, Plaintiffs do not actually allege any parallel conduct at all), (2) attendance at

trade association events, (3) statements in earnings calls, and (4) the existence of government

investigations. See, e.g., id. ¶¶ 7-22, 66-201. Plaintiffs’ operative theory, grounded in aggregate

rather than actual pricing data, appears to be that Defendants allegedly raised the prices of digoxin

and/or doxycycline at or about the same time, and that these price changes must have been the

result of a conspiracy because of alleged meetings at trade associations, statements made in

earnings calls, and existing government investigations. None of Plaintiffs’ allegations, however,

raises their conspiracy claim beyond the level of pure speculation.

       Plaintiffs allege that in mid-October 2013, Lannett and Impax (which Plaintiffs allege were

the only market competitors at that time) increased digoxin prices, id. ¶¶ 79, 81, though they offer

little information about the timing of each company’s increase. The only allegation regarding an

individual Defendant’s digoxin price takes the form of a chart purporting to reflect pricing data for

Lannett’s 0.25 mg digoxin tablet. See id. ¶ 82. But the Lannett data cited by Plaintiffs does not


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include actual prices customers paid for digoxin. Compounding this deficiency, Plaintiffs also rely

on surveys of average prices (not actual prices) from the National Average Drug Acquisition Cost

(“NADAC”) that provide no insight into any individual Defendant’s digoxin prices.

       Plaintiffs then seek to infer illicit communications based on the alleged participation by

some Defendants in trade association events, including industry dinners and women’s initiative

events. See id. ¶¶ 147-57. Yet the CAC is devoid of any facts regarding what, if anything, was

discussed at these gatherings about digoxin or doxycycline.

       Plaintiffs also suggest that certain Defendants’ statements to market analysts during

earnings calls and conferences constitute communications in furtherance of a conspiracy. Id. ¶¶

123-46. However, and even interpreted in the light most favorable to Plaintiffs, the calls reveal no

evidence of any back-and-forth communication on pricing, let alone any price-fixing agreement

among competitors.

       Plaintiffs’ doxycycline allegations are just as deficient as their digoxin allegations. Once

again, Plaintiffs rely on average instead of actual prices to support their claims. See id. ¶¶ 110,

113-14. In fact, Plaintiffs do not make any allegations about Defendants’ actual doxycycline

prices. They similarly fail to allege any specific communications among Defendants about

doxycycline pricing, again trotting out speculative allegations about trade association meetings

and other industry events. The allegations pertaining to analyst calls and public statements on

doxycycline are no more illuminating, as they reflect nothing more than company executives’

offering their views on the market, revenue expectations, and estimates of future business

performance. See id. ¶¶ 137-46.

       Plaintiffs also reference allegations in certain governmental investigations or other

lawsuits, including a civil complaint filed in Connecticut federal court by the attorneys general of




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several states regarding generic drugs glyburide and doxycycline (the “AG Complaint”). See id.

¶¶ 16-19. The AG Complaint, though, does not allege a conspiracy with respect to generic digoxin

at all or doxycycline generally, limiting the relevant allegations to Doxy DR. See State of Conn.

v. Aurobindo Pharma USA, Inc., No. 3:16-cv-02056-VLB (D. Conn.), Dkt. No. 1 at ¶ 1. The AG

Complaint does not name Impax, Lannett, Actavis, Par, West-Ward or Sun as defendants, as those

companies have never sold Doxy DR. See id.

       Finally, Plaintiffs cite to guilty pleas by two former senior executives at Heritage, Jeffrey

Glazer and Jason Malek, in response to charges of conspiring to manipulate the prices of Doxy

DR and glyburide. CAC. ¶ 20. The government informations charging Glazer and Malek do not

disclose facts detailing wrongdoing by any other particular Defendant. Additionally, the conduct

involved in those guilty pleas involves only Doxy DR, a drug not manufactured by most of the

Defendants in this lawsuit, and glyburide, a drug not at issue here.

                                           ARGUMENT

       To survive a motion to dismiss, a complaint must plead “enough facts to state a claim to

relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007); Ashcroft

v. Iqbal, 556 U.S. 662, 678-79 (2009). This requires a significant showing, and mere “labels and

conclusions” or a “formulaic recitation of the elements of a cause of action” are insufficient.

Twombly, 550 U.S. at 555. Further, an allegation of a violation of Section 1 of the Sherman Act

must do more than create an inference of a possible violation of the Act. Id. Even facts that

“merely create[] a suspicion [of] a legally cognizable right of action” fall short of the plausibility

standard and cannot survive a motion to dismiss. Id. (quoting 5 C. Wright & A. Miller, Federal

Practice and Procedure § 1216, at 235-36 (3d ed. 2004)).

       Instead, a complaint must allege “enough factual matter (taken as true) to suggest that an

agreement was made.” Id. at 556. “Where the well-pleaded facts do not permit the court to infer


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more than the mere possibility of misconduct, the complaint has alleged—but it has not

‘show[n]’—‘that the pleader is entitled to relief.’” Fowler v. UPMC Shadyside, 578 F.3d 203, 211

(3d Cir. 2009) (quoting Iqbal, 556 U.S. at 679). In making this determination, a court should

separate “the factual and legal arguments of a claim.” Id. at 210. While well-pleaded facts must

be taken as true, a court “may disregard any legal conclusions.” Id. at 210-11.

I.     Plaintiffs Fail To Plausibly Allege A Single, Unified Conspiracy To Fix The Prices
       Of Both Digoxin And Doxycycline

       The CAC contains only one count alleging that all Defendants engaged in a single

conspiracy to “artificially inflate[] the prices of generic digoxin and generic doxycycline.” CAC

¶ 247. To determine whether allegations related to disparate facts and events can plausibly state a

claim of a single, unified conspiracy, the Third Circuit conducts a “three-step inquiry.” United

States v. Kelly, 892 F.2d 255, 259 (3d Cir. 1989). Under this test, Plaintiffs must allege facts that

plausibly show (1) “there was a common goal among the [alleged] conspirators;” (2) the alleged

conspirators depended on each other and the “continuous cooperation of the conspirators” to

further their common goal; and (3) “the extent to which the participants overlap in the various

dealings” that further their common goal. Id. Plaintiffs here cannot satisfy any one of these factors

because their allegations neither make out a single conspiracy nor provide any basis for believing

that such a conspiracy is plausible. It strains reason to conclude that Defendants would be engaged

in a price-fixing conspiracy involving drugs they do not make, and drugs that are not therapeutic

substitutes for one another.

       A.      Plaintiffs Fail to Plausibly Allege a Single, Common Goal Among Defendants

       Plaintiffs do not plausibly allege a single, common goal among Defendants. See Kelly, 892

F.2d at 259. The CAC alleges that Defendants engaged in a single conspiracy to raise the price of

both generic digoxin and generic doxycycline. See CAC ¶¶ 3, 5, 229, 235, 247. But Plaintiffs




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ignore that there is no overlap in the uses for these drugs, nor do they articulate any reason why

some Defendants would engage in a conspiracy to fix the prices of a drug they did not sell.

           It is nonsensical to suggest that Defendants could have shared the common goal of fixing

the price of both drugs, which are entirely separate products, made from different active

ingredients, used for different purposes, prescribed for different patient populations, and sold by

different companies at different times. See In re Optical Disk Drive Antitrust Litig., 2011 WL

3894376, No.10-md-2143-RS at *8 (N.D. Cal. Aug. 3, 2011) (dismissing as implausible claim of

over-arching conspiracy involving multiple optical disk drive devices and different markets).

           According to Plaintiffs, Lannett and Impax sold only digoxin, but not doxycycline, and

Actavis, Heritage, and Mayne sold only doxycycline, but not digoxin.8                           How could these

defendants have any influence or control over the pricing of drugs they neither manufacture nor

sell? And why would they care? Plaintiffs offer nothing to address these fundamental questions.

See In re Auto. Parts Antitrust Litig., No. 12-md-02311, 2016 WL 8200512, at *4 (E.D. Mich.

Apr. 13, 2016) (denying motion to consolidate claims involving makers of separate component

products because complaints “merely advance allegations of separate conspiratorial conduct

between different Defendants making different parts”—possibly evidence of separate distinct

conspiracies, but not “one, [single] global auto parts conspiracy”). Courts have repeatedly

recognized the implausibility of theories like the one Plaintiffs advance here, confirming that it

makes no sense that entities could or would conspire to fix prices in markets where they do not

compete. See, e.g., Zachair, Ltd. v. Driggs, 965 F. Supp. 741, 747 (D. Md. 1997) (dismissing

price-fixing claim where plaintiff failed to allege “any facts supportive of an inference that the

defendants are competitors”); United States v. Ashland-Warren, Inc., 537 F. Supp. 433, 445 (M.D.


8
    Par did not manufacture both drugs during the operative time period when the conspiracies allegedly were born.




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Tenn. 1982) (“Price-fixing by means of bidrigging is flatly impossible when the alleged

conspirators are not also competitors.”). This Court should reach the same conclusion.

       B.      Plaintiffs Fail to Plausibly Allege That Defendants Depended on Each Other
               or Were Engaged in Continuous Cooperation

       Plaintiffs also plead no facts suggesting that the alleged single conspiracy required the

Defendants—including those that only manufactured or sold one of the drugs—to depend on each

other or engage in “continuous cooperation” in order to succeed. See Kelly, 892 F.2d at 259. “To

evaluate interdependence, the court engages in an inquiry focused on the extent to which the

success or failure of one conspiracy is independent of a corresponding success or failure by the

other.” In re K-Dur Antitrust Litig., No. 01-cv-1652-SRC-CLW, 2016 WL 755623, at *21 (D.N.J.

Feb. 25, 2016); see also In re Ins. Brokerage Antitrust Litig., 618 F.3d 300, 332 (3d Cir. 2010)

(“evidence [must] clearly indicate[] that the defendants would not have undertaken their common

action without reasonable assurances that all would act in concert.”).

       Here, no allegations in the CAC plausibly suggest reliance or continuous cooperation

among the various Defendants. Nothing is said about how the price of one drug impacts the other,

what the supply and demand for digoxin does to supply and demand for doxycycline, or why a

particular digoxin defendant would benefit from the actions of a doxycycline defendant. Instead,

Plaintiffs summarily allege that Defendants “conspired, combined, and contracted to fix, raise,

maintain, and stabilize prices,” CAC ¶ 120, and that Defendants came to a “meeting of the minds”

through their participation in trade association events. Id. ¶ 158. Plaintiffs also use unsupported

suggestions that “various” albeit “unknown” co-conspirators “have willingly conspired with

defendants in their unlawful conduct.” Id. ¶¶ 41-43. But nowhere do Plaintiffs explain how the

alleged fixing of digoxin prices depended on the alleged fixing of doxycycline prices, or vice versa.

This omission is fatal.



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       C.      Plaintiffs Fail to Plausibly Allege Sufficient Overlap Among Defendants

       Plaintiffs similarly fail to allege facts that plausibly suggest sufficient overlap among the

various Defendants and their conduct. See Kelly, 898 F.2d at 259. This factor focuses on whether

there is evidence of concerted action in furthering the goals of the conspiracy among the

participants. Id. at 260. “While it is not necessary that every defendant participate in every

transaction, the mere overlap of some of the defendants in some of the transactions is, on its own,

insufficient to establish an overarching agreement.” Dahl v. Bain Capital Partners, LLC, 937 F.

Supp. 2d 119, 135 (D. Mass. 2013) (internal citations omitted). Here again, there is no plausible

suggestion that a particular digoxin manufacturer coordinated with a doxycycline manufacturer to

increase doxycycline profits or vice versa. See Kelly, 898 F.2d at 260. Instead, Plaintiffs allege

different companies selling different products to treat different conditions. Those allegations

compel only one conclusion: there is no overlap.

       D.      Plaintiffs Should Not Be Permitted to Proceed on Their Claim of a Single
               Conspiracy Because It Would Result in Undue Prejudice to Defendants

       Plaintiffs’ inability to adequately plead a single conspiracy is not a mere technical pleading

defect. Allowing Plaintiffs to proceed on a single conspiracy claim involving separate Defendants

and products with little to no overlap would expose Defendants to substantial undue prejudice.

See In re Auto. Parts, 2016 WL 8200512, at *2 (stating it would be prejudicial to consolidate

separate conspiracy claims into single, over-arching conspiracy claim given differences among

defendants in individual alleged conspiracies). For example, digoxin-only Defendants should not

be jointly and severally liable for injuries allegedly arising from sales of doxycycline, and vice

versa. Defendants have no control over pricing of products they neither manufacture nor sell, and

should not face potential liability for actions outside their control. Allowing the case to proceed

on a theory of single conspiracy would expose Defendants to precisely that type of liability. Cole's




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Wexford Hotel, Inc. v. UPMC, 127 F. Supp. 3d 387, 414–15 (W.D. Pa. 2015) (explaining antitrust

liability is joint and several and each co-conspirator “is liable for the entire amount of damages

caused by the violation regardless of the degree of its culpability in causing the damages”).

                                        *    *   *    *   *

       In short, Plaintiffs should not be permitted to proceed with a single, over-arching

conspiracy pertaining to digoxin and doxycycline, and the Court should dismiss the CAC on this

ground alone.

II.    Plaintiffs Fail To State A Plausible Claim That Defendants Conspired To Fix Prices
       Or Allocate Markets For Digoxin

       Even if Plaintiffs had pleaded a separate digoxin conspiracy, their claims would still fail

as a matter of law under Twombly because there are no factual allegations regarding digoxin that

plausibly imply collusion. In a case alleging a violation of Section 1 of the Sherman Act, the

“crucial question” is “whether the challenged anticompetitive conduct stems from independent

decision or from an agreement.” Twombly, 550 U.S. at 553 (citations and internal quotations

omitted); see also Burtch v. Milberg Factors, Inc., 662 F.3d 212, 221 (3d Cir. 2011) (“Unilateral

action, regardless of motivation, is not a violation of Section 1.”). Indeed, because similar

business conduct among various competitors may be just as consistent with a conspiracy as with

rational, competitive and unilateral business strategy, a plaintiff can survive a motion to dismiss

only by identifying and pleading facts that are “suggestive enough to render a § 1 conspiracy

plausible.” Twombly, 550 U.S. at 556 (emphasis added).

       Under Twombly and its progeny, a plaintiff cannot escape dismissal by alleging similar

conduct among the defendants and asking the court to infer that the only explanation is a

conspiracy. See Finkelman v. Nat’l Football League, 810 F.3d 187, 201 (3d Cir. 2016)

(explaining plaintiffs in Twombly “looked around and saw conduct consistent with conspiracy,



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but [alleged] no facts that indicated more plausibly that a conspiracy actually existed.”)

(emphasis in original). Instead, the complaint must “delineate[] to some sufficiently specific

degree” that each defendant “purposefully joined and participated in the conspiracy.” In re

Processed Egg Prods. Antitrust Litig., 821 F. Supp. 2d 709, 720 (E.D. Pa. 2011).

       The CAC falls far short of this standard: Plaintiffs’ allegations fail to suggest that the

alleged digoxin price increases were the product of collusion as opposed to the individual

Defendants’ unilateral decision-making and independent assessments of each market.

       A.      Plaintiffs Do Not Sufficiently Allege a Digoxin Conspiracy

               1.      Plaintiffs do not allege direct evidence of an agreement to fix prices or
                       allocate customers for digoxin

       To plead a plausible conspiracy, plaintiffs must allege facts that constitute either direct or

circumstantial evidence of a conspiracy. Burtch, 662 F.3d at 225. “Direct evidence of a conspiracy

is evidence that is explicit and requires no inferences to establish the proposition or conclusion

being asserted.” Id. The “paradigmatic example” of such evidence is a “recorded phone call”

featuring an agreement to fix prices. Mayor and City Council of Baltimore, Md. v. Citigroup, Inc.,

709 F.3d 129, 136 (2d Cir. 2013); see also InterVest, Inc. v. Bloomberg, L.P., 340 F.3d 144, 162-

63 (3d Cir. 2003) (providing examples of direct evidence such as “a memorandum produced by a

defendant conspirator detailing the discussions from a meeting of a group of alleged

conspirators”). The CAC here contains nothing of the sort.

       Indeed, there are no specific allegations regarding when Defendants met or communicated

to form the supposed digoxin conspiracy, which of Defendants’ employees were involved, or even

what the contours of any alleged agreement were. Cf. Twombly, 550 U.S. at 591 n.10; Howard

Hess Dental Labs. Inc. v. Dentsply Int’l, Inc., 602 F.3d 237, 255 (3d Cir. 2010); see also Great W.

Mining & Mineral Co. v. Fox Rothschild LLP, 615 F.3d 159, 179 (3d Cir. 2010) (affirming




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dismissal, explaining: “Applying Twombly, [a] statement that Defendants engaged in a concerted

action of a kind not likely to occur in the absence of agreement is inadequate to properly plead an

agreement.”). In Burtch, for example, the Third Circuit found direct evidence lacking where the

complaint cited telephone calls, but did not “specify a time or place that any actual agreement to

fix credit terms occurred, nor . . . indicates that any particular individuals or Factors made such an

agreement.” Nothing in the CAC comes close to meeting that standard.

       Instead, Plaintiffs allege an agreement to fix digoxin prices in only the most conclusory of

terms. For example, the CAC alleges, in boilerplate language, that “defendants entered into

agreements with one another on the pricing and/or allocation of markets for generic digoxin . . . .”

CAC ¶ 245. However, such allegations of a “conclusory nature . . . are not entitled to assumptions

of truth,” Burtch, 662 F.3d at 225, and Twombly requires more than “a few stray statements [that]

speak directly of agreement.” 550 U.S. at 564. See also Schuylkill Health Sys. v. Cardinal Health

200, LLC, No. 12-cv-7065, 2014 WL 3746817, at *7 (E.D. Pa. July 30, 2014) (dismissing

conspiracy claims, explaining “most telling factor” was that plaintiff “state[d] only in a conclusory

fashion that Defendants conspired to allocate markets or employ identical contract terms”).

Further, the CAC lacks any allegation related to Defendants’ purported “allocation of markets for

generic digoxin.” CAC ¶ 245. Accordingly, Plaintiffs fail to plead a digoxin conspiracy through

allegations of direct evidence.

               2.      Plaintiffs do not sufficiently plead circumstantial evidence of a digoxin
                       conspiracy

       Plaintiffs also fail to plead an actionable digoxin conspiracy through circumstantial

evidence. The CAC does not sufficiently allege either Defendants’ parallel conduct or the requisite

“plus factors” that reveal “circumstances under which . . . the inference of rational independent

choice [is] less attractive than that of concerted action.” Lum v. Bank of Am., 361 F.3d 217, 230



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(3d Cir. 2004); see also In re Chocolate Confectionary Antitrust Litig., 999 F. Supp. 2d 777, 786

(M.D. Pa. 2014) (“Specifically, in a parallel plus case, plaintiffs must prove not only that the

defendants’ behavior was ‘consciously parallel’—that is, that each was aware of the others’

conduct and this awareness was an element in their decision making process—but also ‘certain

plus factors.’”), aff’d, 801 F.3d 383 (3d Cir. 2015). Plaintiffs’ claims fail—and should be

dismissed—for this reason as well.

                       a.      Plaintiffs cannot plead parallel conduct through allegations
                               regarding the average market price of digoxin.

       Given the nature of Plaintiffs’ claims, the CAC is strikingly bereft of allegations regarding

the prices each Defendant charged for digoxin during the Class Period. Plaintiffs do not attempt

to show that each digoxin manufacturer was charging the same price for any dosage of digoxin or

increased digoxin prices in parallel, a fatal omission requiring dismissal as a matter of law. See,

e.g., Resco Prods., Inc. v. Bosai Minerals Group Co., 158 F. Supp. 3d 406, 424 (W.D. Pa. 2016).

       The CAC is even unclear as to exactly what “price” Defendants allegedly fixed, for

example, whether it was a list price or the actual transactional price Defendants charged to

customers. The lack of specificity is startling given that Plaintiffs claim to have purchased digoxin

directly from Defendant sellers. See CAC ¶¶ 27-30. Indeed, Plaintiffs’ only allegation regarding

any individual Defendant’s digoxin prices comes in a chart supposedly reflecting certain pricing

data for Lannett’s 0.25 mg digoxin tablet. See CAC ¶ 82. This chart, purportedly “borrowed”

from a report prepared by Dr. Stephen Schondelmeyer, does not indicate what Lannett’s customers

actually paid for digoxin. Instead, it lists figures for Average Wholesale Price (“AWP”) and

Wholesale Acquisition Cost (“WAC”), as well as a data point labeled “Retail $/Day.” Id.

       Plaintiffs acknowledge that AWP and WAC are only “benchmark prices,” and Dr.

Schondelmeyer’s report explains that the “Retail $/Day” figure is (1) not entirely accurate, and (2)



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has nothing to do with the prices Lannett actually charged. Specifically, he notes that the figure

“may or may not reflect what the [Pharmacy Benefit Manager] paid the pharmacy or the usual and

customary price.” Ex. A, Schondelmeyer Rpt. at 7 (emphasis added).9 In other words, the chart

says absolutely nothing about either Lannett’s actual transaction prices or the prices charged by

other digoxin sellers.10

         Lacking allegations regarding each individual Defendant’s prices, Plaintiffs instead rely

exclusively on trends in the average market-wide price for the .125 mg digoxin tablet (not the 0.25

mg tablet) compiled from a survey of pharmacies and reported in the NADAC list (prices

pharmacies paid wholesalers, not the prices charged by Defendants to their customers). See CAC

¶ 85. Plaintiffs do not allege that the NADAC list11 shows the prices individual manufacturers

charged or when any individual Defendant increased its price for the .125 mg digoxin tablet.12 Nor

do Plaintiffs allege which Defendants sold the .125 mg tablet. “Average prices” in the NADAC

list, therefore, say nothing about what any given Defendant actually charged, whether and when




9
  “[A]lthough a district court may not consider matters extraneous to the pleadings, a document integral to or explicitly
relied upon in the complaint may be considered without converting the motion to dismiss into one for summary
judgment.” U.S. Express Lines, LTD. v. Higgins, 281 F.3d 383, 388 (3d Cir. 2002) (internal quotation marks and
citation omitted); see also Hynoski v. Columbia Cty. Redevelop. Auth., 941 F. Supp. 2d 547, 555 (M.D. Pa. 2013)
(“The court may . . . take judicial notice of certain facts, as well as undisputedly authentic documents if the
complainant's claims are based upon these documents.”). Because Plaintiffs specifically rely on the Schondelmeyer
report in the CAC, the Court may properly consider the full contents of the report on this motion to dismiss.
10
  The CAC also does not allege that each Defendant manufactured and sold a 0.25 mg digoxin tablet, further
demonstrating the irrelevance of Dr. Schondelmeyer’s chart.
11
   See Ex. B, NADAC Methodology at 10. The Court may take judicial notice of the NADAC methodology, which
is published by the Center for Medicare and Medicaid Services and available at Medicaid.gov. See, e.g., Wells Fargo
Bank, N.A. v. Wrights Mill Holdings, LLC, 127 F. Supp. 3d 156, 165 (S.D.N.Y. 2015) (finding it “clearly proper to
take judicial notice” of “documents retrieved from official government websites. . .[including] Medicare.gov”).
12
   The NADAC methodology explains that the NADAC data cannot be used to show individual generic drug
manufacturer’s prices. Ex. B, NADAC Methodology at 15 (“one generic drug NADAC will apply to all
[manufacturers] within a drug grouping”). The methodology also demonstrates that the average pricing data masks
price differentials in different ways, for example, by failing to reflect regional price variations or differences in
independent or chain pharmacies. Id.




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any Defendant raised its prices, and the timing of any responses by other Defendants. The NADAC

list simply fails to show parallel conduct.

       The Third Circuit has rejected Plaintiffs’ attempted use of average prices, explaining that

the Court does “not believe that trend lines of average prices are a reliable indicator of

transactional prices.” In re Baby Food Antitrust Litig., 166 F.3d 112, 129 (3d Cir. 1999) (emphasis

in original). As a result, courts have dismissed price-fixing claims where (as here) plaintiff offers

only changes in the average market price of the allegedly fixed product. See Resco Prods., 158 F.

Supp. 3d at 424 (holding plaintiff failed to demonstrate parallel pricing where it asserted that

defendants’ prices “doubled during 2003 and 2004 and increased an additional 70 [percent]

between 2004 and 2007” because general price movements could not demonstrate parallel

increases absent evidence “of the amount or timing of any of the price increases it claim[ed] were

the product of collusion.”); see also In re Musical Instruments and Equip. Antitrust Litig., 798

F.3d 1186, 1197 (9th Cir. 2015) (affirming dismissal because average prices did not demonstrate

whether prices charged by defendants actually increased); Oliver v. SD-3C LLC, No. 11-01260,

2016 WL 5950345 at *5-12 (N.D. Cal. Sept. 30, 2016) (dismissing amended complaint and

rejecting use of price charts to establish parallel conduct).

       Moreover, the NADAC average price data on which Plaintiffs rely actually contradicts

their digoxin conspiracy theory. Plaintiffs allege that the initial (and indeed only significant)

increase in the average market price of digoxin occurred in October 2013—before Plaintiffs allege

that the other Defendants were selling digoxin. See CAC ¶¶ 84-85. Plaintiffs suggest that Lannett

increased its price during this time period, id. ¶¶ 81-82, 93, but provide no other specific allegations

of pricing by other Defendants. Plaintiffs acknowledge that Par and Mylan were not selling

digoxin in 2013, and also recognize that West-Ward was not selling product at the time of the 2013




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price increase.13 Id. ¶¶ 73-75, 81. And although Plaintiffs suggest that the subsequent entry by

Par and Mylan into the market is somehow consistent with their alleged conspiracy, their NADAC

chart shows just the opposite: prices steadily decreased after each manufacturer’s entry. Indeed,

Plaintiffs plead a high average market price of $1.08 per .125 mg digoxin tablet in January 2014,

just before Par’s alleged entry, and the NADAC data shows that the average price began to trend

downward thereafter. In fact, prices fell to less than $0.80 per tablet by the end of 2015. Id. ¶¶

83, 85. If the NADAC data is to be given any weight, it reflects nothing more than a functioning

competitive market where price increases invite entry by new competitors, which, in turn, creates

downward pressure on prices. Cf. id. ¶ 87 (“As long as manufacturers continue to enter the market,

generic drug prices continue the general downward trend.”).

         At bottom, the NADAC average price information cannot serve as a surrogate for the

factual allegations necessary to allege parallel digoxin prices, nor can it create an inference that

the digoxin market exhibited anticompetitive behavior. Accordingly, Plaintiffs fail to plead the

“parallel” part of their “parallel plus” digoxin conspiracy, and their claim must be dismissed.14




13
  Plaintiffs allege that West-Ward ceased digoxin production due to facility issues “in the beginning of 2013.” CAC
¶ 75. Although Plaintiffs assert that West-Ward resumed manufacturing digoxin tablets in July 2013, they allege in
the same breath that West-Ward was not in the digoxin market during the initial “mid-October 2013” price increase
and only increased prices “when it re-entered.” Id. ¶ 81. That same allegation makes no reference to Sun’s re-entry
into the digoxin market. Id. Moreover, Plaintiffs’ own allegations, while inconsistent and contradictory at times, state
that “Sun began selling digoxin in or around April 2015.” Id. ¶ 74. This is borne out further by the Lannett 2014 Q1
earnings call Plaintiffs cite and rely on, see, e.g., id. ¶¶ 126-27, in which Lannett’s CEO stated the company was “only
1 of 2 people in the market” (the other being Impax) and that “some of the other competitors may come back into the
market.” Ex. C, November 7, 2013 Lannett Earnings Call Transcript, at p. 8 (emphasis added).
14
  Plaintiffs do not allege any facts regarding an agreement to allocate the digoxin market. Plaintiffs thus fail to
demonstrate that Defendants acted similarly, let alone in parallel, regarding whether to bid for or otherwise seek
business from customers.




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                       b.     Plaintiffs do not plead sufficient “plus factors” to create an
                              inference of conspiracy.

       Even if Plaintiffs adequately plead parallel conduct (and they do not), their digoxin

conspiracy claim still fails as a matter of law because they fail to allege any facts plausibly

suggesting that such conduct was the product of collusion. Without sufficient allegations of plus

factors, an allegation of parallel conduct “stops short of the line between possibility and

plausibility.” Twombly, 550 U.S. at 557; see also In re Musical Instruments, 798 F.3d at 1194

(citing Twombly and holding plaintiff must allege factual allegations that are “largely inconsistent

with unilateral conduct [and] largely consistent with explicitly coordinated action”).

       The Third Circuit has identified three potentially relevant plus factors: “(1) evidence that

the defendant had a motive to enter into a price fixing conspiracy; (2) evidence that the defendant

acted contrary to its interests; and (3) evidence implying a traditional conspiracy.” In re Ins.

Brokerage, 618 F.3d at 321-22. The first two plus factors, however, “are not especially helpful in

price-fixing cases where, as here, there are [alleged] parallel price increases by competitors in a

concentrated market.” Superior Offshore Int’l, Inc. v. Bristow Group, Inc., 490 F. App’x 492, 499

(3d Cir. 2012); see CAC ¶ 203. This is because “the first two factors largely restate the

phenomenon of interdependence.” In re Chocolate Confectionary Antitrust Litig., 801 F.3d 383,

398 (3d Cir. 2015) (citing In re Baby Food). Such allegations, therefore, are not alone sufficient

to state a plausible price-fixing conspiracy claim.       Instead, because Plaintiffs allege that

Defendants are “oligopolists” in a concentrated market, CAC ¶ 211, Plaintiffs need to establish

their claim through evidence implying the existence of a traditional conspiracy, which they fail to

do. Regardless, none of Plaintiffs’ proffered plus factors holds up to scrutiny.




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                               (1)    There are no allegations of motive or actions against
                                      self-interest.

       Plaintiffs’ allegations regarding Defendants’ motive to enter a digoxin conspiracy are both

unremarkable and insufficient as a plus factor. Plaintiffs plead only that “increased revenue and

higher profits . . . [were] a motive for the conspiracy.” CAC ¶ 162. That motive exists in every

industry and, taken to its logical conclusion, Plaintiffs’ position would make the plus factor of

motive a nullity. See Hyland v. HomeServices of Am., Inc., 771 F.3d 310, 321 (6th Cir. 2014) (“If

this Court were to find that Defendants’ motive to maximize profits supported an inference of an

illegal conspiracy, then all businesses would be subject to antitrust liability.”). And, indeed, the

Third Circuit has been clear that a desire to increase profits through price increases does not imply

the existence of a conspiracy. See In re Baby Food, 166 F.3d at 134-35 (“Profit is a legitimate

motive in pricing decisions, and something more is required before a court can conclude that

competitors conspired to fix pricing in violation of the Sherman Act.”).

       Nor does engaging in conscious parallelism lead to the conclusion that Defendants were

acting against their self-interest. As the Third Circuit has explained, while conscious parallelism

is “a common reaction of ‘firms in a concentrated market [that] recognize their shared economic

interests and their interdependence with respect to price and output decisions,’” this behavior “does

not suffice as an agreement under Section 1.” Burtch, 662 F.3d at 226-27.

       Indeed, courts routinely recognize that “[a]n action that would seem against self-interest in

a competitive market may just as well reflect market interdependence giving rise to conscious

parallelism.” In re Musical Instruments, 798 F.3d at 1195. Thus, courts have held that “[t]here is

nothing irrational or self-defeating about the alleged parallel pricing in an oligopolistic market in

which enlightened economic actors may independently and unilaterally choose to adopt and

maintain supra-competitive pricing.” Superior Offshore Int’l, 738 F. Supp. 2d at 515 (dismissing



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claim where “Plaintiff’s only allegations of acts against each Defendant’s economic self-interest

are allegations of Defendants’ parallel price increases during a period of decreased demand”); see

also Twombly, 550 U.S. at 554 (“The inadequacy of showing parallel conduct or interdependence,

without more, mirrors the ambiguity of the behavior: consistent with conspiracy, but just as much

in line with a wide swath of rational and competitive business strategy unilaterally prompted by

common perceptions of the market.”).

       Nor can Plaintiffs establish a common motive through conclusory and general allegations

that the digoxin market is “susceptible to collusion.” CAC ¶ 202. Even reading Plaintiffs’ market

structure allegations in the most generous light, they remain insufficient to show that Defendants

formed an agreement regarding digoxin. See, e.g., Schuylkill Health, 2014 WL 3746817 at *7

(“even assuming the . . . market is susceptible to collusion given high barriers to entry and large

fixed costs of production, this factor alone does not support SHS’s conspiracy claim”). In fact,

many of Plaintiffs’ allegations are inconsistent with any claim that the digoxin market was

susceptible to collusion. For example, Plaintiffs allege that numerous companies entered the

market during the alleged conspiracy period, which, as reflected in Plaintiffs’ NADAC chart, drove

prices down. This outcome is the antithesis of collusion.

       Plaintiffs’ allegations that it was against each Defendant’s unilateral self-interest to

increase prices and potentially lose sales and market share fare no better. Courts have found such

allegations insufficient to establish a plus factor indicating that a conspiracy is more plausible than

independent conduct. See, e.g., In re Chocolate Confectionary, 801 F.3d at 401 (“Deciding not to

follow a price increase initiated by a rival is just one rational response that an oligopolist can take,

a fact acknowledged by economists”); In re Baby Food, 166 F.3d at 135 (“[E]vidence of action

that is against self-interest . . . must be so unusual that in the absence of an advance agreement, no




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reasonable firm would have engaged in it.”). As the Ninth Circuit explained in In re Musical

Instruments, “so long as prices can be easily readjusted without persistent negative consequences,

one firm can risk being the first to raise prices, confident that if its original price is followed, all

firms will benefit.” 798 F.3d at 1195 (emphasis in original); see also Mayor and City Council of

Baltimore, 709 F.3d at 139-40 (“a common reaction of firms in a concentrated market [is to]

recognize their shared economic interests and their interdependence with respect to price and

output decisions,” but “[s]uch ‘conscious parallelism,’ however, is not unlawful in itself.”). This

well-accepted economic principle demonstrates why, in a concentrated industry like the one

alleged here, follow-the-leader pricing (to the extent it occurs) is both rational and not indicative

of collusion.

        In any event, “[a]s a general rule, evidence that a market is ripe for collusion, that

defendants acted against their interests, or that defendants were motivated to collude is too

ambiguous to support an inference of agreement, because these circumstances could just as readily

be the result of unilateral independent conduct.” In re Chocolate Confectionary, 999 F. Supp. 2d

at 789 (citing Baby Food, 166 F.3d at 122). Plaintiffs do not plead any facts that are more

consistent with a conspiracy to fix digoxin prices than with each Defendant’s unilaterally deciding

to set its individual prices in an attempt to maximize profits. Thus, the allegations are insufficient

to establish this plus factor as a matter of law.

                                (2)     Plaintiffs do not allege any “traditional” evidence of a
                                        conspiracy.

        The CAC likewise fails to allege facts evidencing a traditional conspiracy as it includes

nothing to suggest “that the defendants got together and exchanged assurances of common action

or otherwise adopted a common plan” regarding price-fixing or market allocation with respect to

digoxin. Superior Offshore Int'l, 490 Fed. App’x at 499. Rather, Plaintiffs attempt to cobble



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together a conspiracy claim from allegations of (1) government investigations into the generic drug

industry, (2) Defendants’ participation in a trade association and general industry functions, and

(3) unilateral public statements made during earnings calls and in investor reports. These

allegations are not sufficiently tailored to digoxin and are incapable, in any event, of creating an

inference of a digoxin conspiracy as a matter of law.

                                              (a) Government investigations are not a plus
                                                  factor here.

       Plaintiffs rely heavily on broad allegations regarding government investigations and court

filings, but these allegations do nothing to tie Defendants’ alleged conduct regarding digoxin to

any collusion or illicit agreement.

       Plaintiffs’ allegations that the DOJ is investigating certain Defendants, for example, do not

imply a conspiracy related to digoxin because those allegations do not make an unlawful

agreement any more plausible than independent conduct. Indeed, courts have rejected similar

attempts to state a Section 1 claim by relying on the existence of a DOJ grand jury investigation.

In Superior Offshore Int’l, Judge Legrome Davis considered this very issue in granting the

defendants’ motion to dismiss. See Superior Offshore Int’l Inc. v. Bristow Group, Inc., 738 F.

Supp. 2d 505, 508 (D. Del. 2000), aff’d, 490 F. App’x 492 (3d Cir. 2012). The complaint in that

case included allegations that the defendants had received DOJ subpoenas in connection with a

pending grand jury investigation. Id. Even though the subpoenas were purportedly related to the

alleged conduct underlying the civil suit, the court concluded that the allegations of the existence

of a government investigation did not “bolster” the plaintiff’s conspiracy theory:

               [The subpoenas and investigation] do not permit a reasonable
               inference that any Defendant committed an antitrust violation
               because proof of the mere occurrence of the DOJ’s investigation is
               equally consistent with Defendants’ innocence. . . . Thus, the
               initiation of the DOJ’s investigation and Defendants’ receipt of
               document subpoenas. . . . do not enhance the plausibility of


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               Plaintiff’s claim and do not warrant subjecting Defendants to the
               burdens of antitrust discovery.

Id. at 516-17 (emphasis added); see also In re Graphics Processing Units Antitrust Litig., 527 F.

Supp. 2d 1011, 1024 (N.D. Cal. 2007) (“The [DOJ] investigation . . . , however, carries no weight

in pleading an antitrust conspiracy claim. It is unknown whether the investigation will result in

indictments or nothing at all.”); LaFlamme v. Societe Air France, 702 F. Supp. 2d 136, 154

(E.D.N.Y. 2010) (dismissing Section 1 claim and holding that “neither mere participation in an

investigatory interview nor the receipt of a subpoena is necessarily probative of conspiracy”);

Hinds Co. Miss. v. Wachovia Bank, N.A., 620 F. Supp. 2d 499, 514 (S.D.N.Y. 2009) (“This Court

agrees that the various investigations, inquiries, and subpoenas do not make the CAC’s allegations

plausible”); In re Tableware Antitrust Litig., 363 F. Supp. 2d 1203, 1205 (N.D. Cal. 2005)

(rejecting reliance on Attorney General investigation because otherwise “mere knowledge of a

governmental investigation would suffice—without any further inquiry on a would-be plaintiff’s

part—to expose the targets of such investigations to free-ranging civil discovery.”).

       Further, although Plaintiffs invoke the recent guilty pleas of two former Heritage

executives (Jeffrey Glazer and Jason Malek), see CAC ¶¶ 14-15, 193, it is undisputed that Heritage

has never manufactured digoxin. While Heritage may have sold Doxy DR (an entirely different

product), Plaintiffs cannot adequately plead a conspiracy regarding digoxin through circumstantial

evidence of an alleged conspiracy to fix the price of Doxy DR absent specific allegations of factual

linkage—allegations that are wholly absent here. See In re Chocolate Confectionary, 801 F.3d at

403 (holding plaintiffs must show that relevant activities in respective markets “are sufficiently

linked or tied in some way, e.g., the people involved in the conspiracies are the same or

overlapping”); see also In re London Silver Fixing, Ltd., No. 14-MD-2573 (VEC), 2016 WL

5794777 at *14 (S.D.N.Y. Oct. 3, 2016) (holding evidence of defendants’ conduct with respect to



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one metal market had no bearing on antitrust claims concerning different market). Plaintiffs

cannot, and do not, link Malek, Glazer, and, more broadly, Heritage, to any alleged conspiracy

concerning digoxin.15

         For this same reason, the AG Complaint, see CAC ¶¶ 195-96, does not support Plaintiffs’

allegations of a digoxin-related conspiracy. Digoxin is not mentioned anywhere in the AG

Complaint. Moreover, as Plaintiffs characterize it, the AG Complaint alleges that Heritage was

“[t]he principal architect and ringleader of the conspiracies.” Id. ¶ 199. Again, Plaintiffs do no

(and cannot) claim that Heritage ever participated in the digoxin market, so these allegations are

irrelevant.

         Nor, finally, does the Congressional probe “relating to the escalating prices of generic

pharmaceuticals,” id. ¶ 173, imply collusion with respect to digoxin. Plaintiffs do not allege that

Congress was investigating price-fixing or market allocation regarding digoxin or any other drug.

And Defendants are not aware of a single reported decision in which a Congressional investigation

was found to provide circumstantial evidence of an antitrust conspiracy. Cf. Persian Gulf Inc. v.

BP W. Coast Prods. LLC, No. 15-cv-01749-L-BGS, 2016 WL 4574357 at *17-19 (S.D. Cal. July

14, 2016) (dismissing conspiracy claim and holding “U.S. Senators’ request to investigate the

gasoline price spikes also does not necessarily suggest a collusive agreement”). Accordingly,

Plaintiffs’ allegations regarding government investigations and inquiries do not amount to

traditional conspiracy evidence.




15
  Further, Plaintiffs fail to link their vague allegations regarding a “leniency applicant” to the specific drugs alleged
here. See CAC ¶ 200. They do not even allege whether any Defendant in this action is the alleged applicant or what
drugs are included in the leniency application.




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                                               (b) The trade association allegations are also
                                                   insufficient.

       Plaintiffs’ allegations regarding Defendants’ participation in and attendance at GPhA

meetings and other industry functions similarly do not constitute a plus factor. In the Third Circuit,

it is “canon that evidence of competitors meeting together, without more, is insufficient to raise

inferences of conspiracy without additional evidence.” In re Domestic Drywall Antitrust Litig.,

163 F. Supp. 3d 175, 197 (E.D. Pa. 2016); see also Twombly, 550 U.S. at 567 n.12 (rejecting notion

that defendant should be forced to “devote financial and human capital to hire lawyers, prepare for

depositions, and otherwise fend off allegations of conspiracy[,] all this just because he belonged

to the same trade guild as one of his competitors”); In re Chocolate Confectionary, 999 F. Supp.

2d at 804 (“The court rejects the suggestion that the contemporaneous presence of defendants’

officers at a trade association meeting permits an inference of conspiracy.”); Superior Offshore,

Int’l, 738 F. Supp. 2d at 516 (“Plaintiff’s allegations concerning Defendants’ opportunities to

conspire” at trade association meetings “do not permit a reasonable inference of collusion”); Resco

Prods., 158 F. Supp. 3d at 425-26 (holding it “is not reasonable” to infer conspiracy from trade

association membership); see also Just New Homes, Inc. v. Beazer Homes, 293 F. App’x 931, 934

(3d Cir. 2008) (“Membership in a trade association, without more, does not violate the antitrust

laws.”).

       Courts consistently reject attempts such as those made by Plaintiffs here to insinuate that

there is something sinister about routine attendance at industry trade association meetings. See

Schuykill Health, 2014 WL 3746817 at *7 (“The fact that the Defendants are members of a trade

association that hosts annual conferences does not transform Defendants’ parallel conduct into a

conspiracy.”); see also Bookhouse of Stuyvesant Plaza, Inc. v. Amazon.com, Inc., 985 F. Supp. 2d

612, 618 (S.D.N.Y. 2013) (dismissing complaint because plaintiffs’ failure to “specify who



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participated in these hypothetical discussions or agreements. . . . falls well short of the line between

possibility and plausibility of entitlement to relief”).

        The CAC does not link any of these meetings or functions to any agreement to fix digoxin

prices. As a result, these allegations, even taken as true, demonstrate merely that Defendants may

have had the opportunity to conspire, but they do not support an inference of actual conspiracy.

See, e.g., CAC ¶ 155 (“At these meetings and trade shows, generic pharmaceutical manufacturers

have opportunities to discuss and share competitively sensitive information”) (emphasis added); ¶

213 (“Certain defendants are members of trade association GPhA which provides and promotes

opportunities to communicate”) (emphasis added).

        In fact, many of Plaintiffs’ allegations on this point are inconsistent with any alleged

conspiracy. For example, although Plaintiffs allege seven meetings of the GPhA, see id. ¶ 154,

these allegations belie any inference that the meetings were a conduit to fix prices or allocate

customers in the digoxin market. Lannett is only alleged to have attended two of the first five such

meetings, and was notably absent from the February 2014 GPhA Annual Meeting, which would

have been just a few months into the purported digoxin conspiracy. Id. Meanwhile, West-Ward

is not alleged to have attended any GPhA meeting until late October 2014.16 And the only trade

association meeting which both Lannett and Impax allegedly attended was a “Technical

Conference” in October 2012, more than a year before the claimed October 2013 price increase

that is the focus of this suit. See CAC ¶ 154.

        Plaintiffs allege that these meetings took place, but they do not allege that there was any

actual discussion of digoxin prices, customers, or market conditions at any of these meetings. They


16
   Although Plaintiffs allege that Par and Mylan attended each of these meetings, they were not in the digoxin market
until, respectively, early 2014 and 2015. Likewise, Sun was not in the market until April 2015, so its alleged
attendance at some of the earlier meetings cannot be related to a purported digoxin conspiracy.




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do not allege that any employee of any Defendant with responsibility for digoxin pricing or sales

attended any of these meetings. They do not allege that any meetings attended by digoxin

manufacturers were closed to other members of the GPhA, although they acknowledge that

membership extends to distributors, chemical manufacturers, and suppliers of other goods and

services in the industry. See CAC ¶ 149. Cf. In re Text Messaging Antitrust Litig., 782 F.3d 867,

878 (7th Cir. 2015) (rejecting inference of conspiracy from trade association meetings in part

because “representatives of companies not alleged to be part of the conspiracy frequently were

present at these meetings” which eliminated probability of collusion). Given these allegations (or

lack thereof), Plaintiffs’ suggestion that the GPhA served as a conduit for collusion is

unsupportable and implausible.

       Likewise, Plaintiffs’ allegations regarding trade shows, steak dinners, “girls nights out,”

and other purported meetings do not imply a digoxin conspiracy. See CAC ¶¶ 155-57. Plaintiffs

do not attempt to specifically plead that each Defendant attended these functions or that they

related to digoxin. Indeed, most, if not all, of these allegations are appropriated wholesale from

the AG Complaint, which has nothing to do with digoxin. Once again, therefore, Plaintiffs’

allegations suggest, at most, an opportunity to conspire, but they cannot “sustain an inference that

a conspiracy has taken place.” Petruzzi’s IGA Supermarkets, Inc. v. Darling, Del. Co., Inc., 998

F.2d 1224, 1242 n.15 (3d Cir. 1993).

                                              (c) Defendants’ public statements do not aid
                                                  Plaintiffs’ cause.

       Plaintiffs also cannot manufacture a digoxin conspiracy from public statements made by

individual Defendants in investor communications and reports. Plaintiffs primarily rely on certain

comments made by Lannett’s CEO, Arthur Bedrosian, in the course of earnings calls, discussing

the competitive landscape faced by Lannett. See CAC ¶¶ 123-33. The remarks indicated that



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Lannett intended to compete vigorously for greater market share. Id. These comments certainly

are no less (if anything, are more) consistent with unilateral conduct than they are with conspiracy.

Executives, especially public company executives, must provide shareholders and investors with

market forecasts and other predictions regarding price movements in the marketplace. Basing

antitrust liability on such comments would chill pro-competitive, lawful conduct.

       Indeed, there is nothing significant, from an antitrust perspective, about Bedrosian’s

comments, such as his alleged references to competitors or potential entrants acting “rational” with

respect to pricing. See, e.g., id. ¶ 130. Courts, including the Third Circuit, have recognized that

in a concentrated industry, a firm’s decision to follow a competitor’s price increase is perfectly

rational and unremarkable behavior. See, e.g., In re Chocolate Confectionary, 801 F.3d at 401;

Valspar, 152 F. Supp. 3d at 248-49. Bedrosian’s acknowledgement of this market characteristic

hardly implies collusion.

       Nor can Bedrosian’s comments reasonably be taken as improper price signaling as

Plaintiffs appear to suggest. See CAC ¶ 126. Plaintiffs do not allege that Bedrosian referred to

specific digoxin prices or the timing of any potential price increases during the relevant earnings

calls. Courts in the Third Circuit have found far more detailed allegations and evidence of price

signaling to be insufficiently suggestive of a conspiracy.

       For example, in Valspar, the court rejected plaintiff’s argument that even specific price

announcements issued by the defendants were “price beacons to competitors for the purpose of

gauging their willingness to raise prices.” 152 F. Supp. 3d at 247-48. Despite evidence that such

announcements were intended to prod competitors into following price increases, the court

disagreed that an inference of conspiracy could be drawn. The court noted the “distinction between

tacit and express collusion” and that there were obvious “lawful, non-collusive reasons for making




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public price announcements.” Id. at 248. Similarly here, Plaintiffs’ reliance on Bedrosian’s

statements consists of “first assuming a conspiracy and then setting out to prove it.” Id. at 249

(quoting Blomkest Fertilizer, Inc. v. Potash Corp. of Saskatchewan, 202 F.3d 1028, 1037 (8th Cir.

2000)). His comments cannot plausibly demonstrate an invitation to enter into a price-fixing

agreement or that any such invitation was accepted. See, e.g., also Hall v. United Air Lines, Inc.,

296 F. Supp. 2d 652, 671 n. 23 (E.D.N.C. 2003) (“The public announcement of a pricing decision

cannot be twisted into an invitation or signal to conspire; it is instead an economic reality to which

all other competitors must react”); 6 Areeda & Hovenkamp, Antitrust Law, § 1435c at 281 (3d ed.

2010) (recognizing procompetitive justifications for public speech and announcements regarding

pricing).

       Moreover, some of Bedrosian’s comments contradict the existence of the alleged digoxin

conspiracy. For example, Plaintiffs allege that during a February 2015 earnings call, Bedrosian

discussed uncertainty regarding a digoxin price increase, saying that Lannett was “also looking to

capture more market share on the Digoxin [product],” and that Lannett would not “just let [its]

competition take away [its] market share.” CAC ¶ 132 (emphasis added). This does not plausibly

suggest collusion but, on the contrary, price-based competition. Such competition would be

unnecessary if there was an actual agreement to fix digoxin prices. See also id. ¶ 128 (“‘But we’re

in the commodity business, so it’s always hard to determine [the] point when you’re going to get

additional competition or when prices will erode as they generally do.’”).

       Statements made by other Defendants are equally insufficient to support a claim of

conspiracy. Plaintiffs reference comments made by Impax’s then-President of its generic division,

Carole Ben-Maimon, acknowledging that Impax had followed a digoxin price increase instituted

by Lannett in late 2013 and that the company believed its unilateral pricing decisions were rational




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and profitable.17 Id. ¶ 134. As discussed above, these types of comments do not suggest a

conspiracy as a matter of law. And the alleged statements made by other Defendants (1) had

nothing to do with digoxin, see, e.g., id. ¶ 138, (2) merely reported sales results and profits, see

e.g., id. ¶¶ 141-42, and/or (3) innocuously discussed market conditions in the broader generic drug

industry. See, e.g., id. ¶¶ 144-46. Once again, these allegations do not support the conspiracy

Plaintiffs allege. As with most of Plaintiffs’ allegations, were courts to infer a conspiracy from

these statements, they would have to do so in nearly every Section 1 case.

        Although this Court is not required to view each piece of “evidence” in isolation, Plaintiffs’

conclusory, unexceptional allegations regarding Defendants’ conduct never add up to anything

like a plausible theory of conspiracy. In short, the CAC’s meager allegations regarding a purported

digoxin conspiracy do not plead the requisite “setting suggesting the agreement necessary to make

out a § 1 claim.” Twombly, 550 U.S. at 557.

III.    Plaintiffs Fail To State A Plausible Claim That Defendants Conspired To Fix Prices
        Or Allocate Markets For Doxycycline

        The same reasons that foil Plaintiffs’ attempt to plead a plausible antitrust conspiracy for

digoxin are also on full display with respect to doxycycline, and warrant the same result. As with

digoxin, Plaintiffs’ doxycycline claims lack direct evidence of an agreement and are equally bereft

of allegations sufficient to provide circumstantial evidence of an agreement. The failure to plead

either requirement warrants dismissal of the CAC.

        A.       Plaintiffs Do Not Allege Any Direct Evidence of a Doxycycline Conspiracy

        Plaintiffs’ CAC falls far short of the showing needed to sustain a direct-evidence

conspiracy. There is certainly no hint of a “recorded phone call” or a specific “document or


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   Plaintiffs wrongly assert that one of Ben-Maimon’s statements relates to Impax and digoxin, see CAC ¶ 135, when
in fact the February 20, 2014 earnings call transcript makes no reference to either digoxin or Lannett.




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conversation explicitly manifesting” an agreement to fix prices or allocate markets for

doxycycline. See Mayor and City Council of Baltimore, 709 F.3d at 129; In re Ins. Brokerage,

618 F.3d at 324 n.23. Indeed, the CAC lacks any allegations regarding when Defendants

supposedly met or communicated to form the alleged doxycycline conspiracy, or which of

Defendants’ employees were involved. Cf. Twombly, 550 U.S. at 565 n.10; Howard Hess Dental

Labs, 602 F.3d at 255.

         In short, Plaintiffs do not allege any direct evidence of conspiracy. And so, unable to cite

direct evidence of their own, Plaintiffs attempt to rely on the pleadings of others to make their

case.

         First, Plaintiffs cite to the AG Complaint referenced above. See CAC ¶¶ 195-99. Such

pleading tactics do not pass muster. As the Supreme Court and the Third Circuit have both made

clear, Rule 11 of the Federal Rules of Civil Procedure “imposes a non-delegable duty upon the

signing attorney to conduct his own independent analysis of the facts and law which form the basis

of a pleading or motion.” See Garr v. U.S. Healthcare, 22 F.3d 1274, 1277-78 (3d Cir. 1994)

(quoting Pavelic & LeFlore Marvel Enter’t Group, 493 U.S. 120, 125-27 (1989)). Plaintiffs

cannot shirk that duty by relying on someone else to do their work for them.

         Regardless, the allegations in the AG Complaint do not contain any direct evidence of a

doxycycline conspiracy, as that complaint relies on conclusory statements that do no more than

recite the elements of a Section 1 claim. See AG Complaint ¶ 75 (“Heritage and Mylan executives

agreed to allocate market share and refrain from competing with one another for customers in

market for Doxy DR.”). Plaintiffs also ignore a critical distinction between the AG Complaint and

this case: the AG Complaint does not allege a conspiracy with respect to doxycycline generally,

but only with respect to Doxy DR. Plaintiffs here do not plead that Actavis, Par, West-Ward, or




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Sun ever manufactured or sold Doxy DR, CAC ¶ 98, and none of these four companies is a

defendant in the AG Complaint. Moreover, an amended complaint was recently filed in that action,

but it did not name any new defendants or new drugs. See State of Conn. v. Aurobindo Pharma

USA, Inc., No. 3:16-cv-02056-VLB (D. Conn.), Dkt. No. 168. Thus, Plaintiffs’ attempt to piggy-

back on the AG Complaint is both improper and ineffective

       Second, Plaintiffs rely on guilty pleas by former Heritage executives Glazer and Malek,

but such reliance is misplaced, as these guilty pleas do not absolve Plaintiffs of their obligation to

plead allegations sufficient to satisfy Twombly.

       At the outset, it should be re-emphasized that Heritage sold only Doxy DR. Glazer’s and

Malek’s guilty pleas are therefore irrelevant to the claims against Actavis, Par, West-Ward, and

Sun, companies not alleged to have produced Doxy DR. See CAC ¶ 98. Reliance on guilty pleas

concerning other, supposedly “related products” is an insufficient substitute for factual allegations

giving rise to a plausible inference of conspiracy. See In re TFT-LCD (Flat Panel) Antitrust Litig.,

MDL No. 1827, 2010 WL 2609434 at *5 (N.D. Cal. June 28, 2010) (dismissing complaint relying

on guilty pleas where there were insufficient “specific factual allegations to support the conspiracy

claims in addition to allegations concerning guilty pleas with respect to the other products or

markets.”); see also In re Hawaiian & Guamanian Cabotage Antitrust Litig., 647 F. Supp. 2d

1250, 1258 (W.D. Wa. 2009) (dismissing claim where plaintiff relied on DOJ investigation and

guilty pleas relating to separate route in shipping industry involving some of defendants and noting

“[s]imilar attempts at cross-fertilization have been rejected by other courts”).

       Moreover, even with respect to Doxy DR, Plaintiffs’ reliance on the Glazer and Malek

pleas fails. Neither the transcripts from the guilty plea hearings, nor any other publicly available

documents from the criminal proceedings, provide any specifics as to the companies or individuals




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with whom Glazer and Malek allegedly conspired, or when the alleged conspiracies were formed.18

Thus the criminal proceedings fail to provide the “specific time, place, or person [other than Glazer

and Malek themselves] involved in the alleged conspiracies” that are required to establish an

antitrust conspiracy by direct evidence. Twombly, 550 U.S. at 565 n.10. Plaintiffs’ allegations to

the contrary are nothing more than the exact type of speculative, unfounded claims that do not

survive scrutiny on a motion to dismiss.

         B.       Plaintiffs Fail to Sufficiently Allege a Conspiracy Claim Based on
                  Circumstantial Evidence

         Unable to allege any direct evidence of a conspiracy, and as noted above, Plaintiffs must

set forth allegations showing that Defendants acted in parallel and allege sufficient circumstantial

evidence—“plus factors”—suggesting that the parallel conduct was the result of an unlawful

agreement rather than lawful independent behavior. Twombly, 550 U.S. at 556-57. As with

digoxin, Plaintiffs fall far short here as well.

         Even if Plaintiffs’ allegations were sufficient to establish parallel conduct (which they are

not), Plaintiffs’ purported plus factors would support, at most, an inference that Defendants acted

in accordance with conscious parallelism or market interdependence. That is not enough, even at

the motion-to-dismiss stage, for their claims to move forward. See Twombly, 550 U.S. at 556 n.4

(requiring allegations of parallel conduct that “would probably not result from chance,

coincidence, independent responses to common stimuli, or mere interdependence unaided by an

advance understanding among the parties”); In re Chocolate Confectionary, 801 F.3d at 398




18
  See United States v. Glazer, No. 2:16-cr-506, Doc. 1 (E.D. Pa.) (Information, filed Dec. 12, 2016); Doc. 15 (minute
entry for plea, filed Jan. 9, 2017); United States v. Malek, No. 2:16-cr-508, Doc. 1 (E.D. Pa.) (Information, filed Dec.
13, 2016); Doc. 14 (minute entry for plea, filed Jan. 10, 2017).




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(“evidence of conscious parallelism cannot alone create a reasonable inference of a conspiracy”);

In re Ins. Brokerage, 618 F.3d at 321 (same).

                  1.       An average price increase does not establish that Defendants
                           increased prices in parallel

         Plaintiffs’ circumstantial evidence-based claims fail at the outset, since there are no

allegations that Defendants each charged the same price for any doxycycline product or that they

instituted price increases in parallel. Absent such allegations, a price-fixing case premised on

circumstantial evidence must be dismissed. See Resco Prods., 158 F. Supp. 3d at 424 (assertions

of general price movements could not demonstrate parallel increases absent evidence “of the

amount or timing of any of the pricing increases it claim[ed] were the product of collusion.”).19

         Here, and just as with digoxin, Plaintiffs allege only a general market-wide “average” price

increase for doxycycline that does not distinguish among or account for the various doxycycline

types or dosages. See, e.g., CAC ¶¶ 110-14. Other than a single allegation purporting to show

doxycycline hyclate 100 mg prices for West-Ward, CAC ¶ 111, there are no allegations regarding

the amount or timing of any price increase instituted by any Defendant. And even that single

alleged fact says nothing about whether West-Ward’s pricing changes preceded, followed, or were

contemporaneous with those of any other Defendant. Additionally, there are absolutely no facts

whatsoever about Doxy DR prices. There can be no parallel conduct when the CAC fails to allege

facts as to who initiated the price increase, who followed the price increase, and when any of these

purportedly unlawful acts occurred.




19
   See also RxUSA Wholesale, Inc. v. Alcon Labs., Inc., 661 F. Supp. 2d 218, 233 (E.D.N.Y. 2009) (dismissing
Sherman Act § 1 claim for failure to allege parallel conduct); In re Travel Agent Comm’n Antitrust Litig., MDL No.
1561, 2007 WL 3171675, at *4 (N.D. Ohio Oct. 29, 2007) (dismissing claims because plaintiffs did not “put forth any
‘factual matter’ suggesting [four defendants] engaged in parallel conduct” (quoting Twombly, 550 U.S. at 556)), aff’d,
583 F.3d 896 (6th Cir. 2009).




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         Indeed, the CAC’s few price-related allegations rely on the same flawed information

sources Plaintiffs use for digoxin: (1) average market-wide prices for various doxycycline

presentations, compiled from a survey of pharmacies and reported in the NADAC list, see CAC

¶¶ 113-16, and (2) average prices as reflected in a “U.S. Senate fact sheet.” See CAC ¶ 110. Once

again, however, Plaintiffs do not (and cannot) allege that the NADAC list or Senate fact sheet

demonstrates the prices individual manufacturers charged or when any Defendant increased its

price and, as previously noted, the Third Circuit has rejected the notion that “trend lines of average

prices are a reliable indicator of transactional prices.” In re Baby Food, 166 F.3d at 29.20

         There are no facts pleaded in the CAC capable of demonstrating Defendants’ parallel

conduct, and the NADAC list average price cannot serve as a surrogate in the absence of these

necessary allegations. As explained supra in Section II(A)(2)(a), an increase in the average prices

of various doxycycline products says nothing about whether Defendants charged the same price

or increased prices in parallel. Thus, Plaintiffs do not plead the “parallel” part of their “parallel

plus” conspiracy claim, and the claim must therefore be dismissed without regard to the presence

of any plus factors.

                  2.       Plaintiffs do not adequately plead any plus factors

         As with digoxin, Plaintiffs fail to adequately plead parallelism for doxycycline, but even if

they had met this initial burden, the CAC still needs to be dismissed. Alleging parallelism without




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  There are no reported court decisions relying on the NADAC list as a reliable source for actual drug prices. In Wal-
Mart Stores, Inc. v. Knickrehm, 101 F. Supp. 2d 749 (E.D. Ark. 2000), the court analyzed studies prepared by Myers
& Stauffer, the same accounting firm alleged to create the NADAC list. See CAC ¶ 40. The court found certain
reliability problems, including issues in determining whether chain and non-chain pharmacies had different drug
acquisition costs. Knickrehm, 101 F. Supp. 2d at 757-58. This suggests, again, that the NADAC list may hide
important differences in the actual prices charged by individual manufacturers that make it irrelevant for purposes of
evaluating the pricing conduct of individual Defendants.




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a “plus factor” is insufficient to set out a claim under Twombly. See supra Section II(A)(2)(a).

And Plaintiffs fail to allege plus factors with respect to doxycycline.

                       a.      There are no allegations of motive or actions against self-
                               interest.

       The CAC does not explain Defendants’ motive for entering the alleged conspiracy. To the

extent Plaintiffs argue that Defendants were motivated by higher profits, see CAC ¶ 162, that does

not imply collusion. See In re Baby Food, 166 F.3d at 134-35 (explaining that “[p]rofit is a

legitimate motive in pricing decisions”); Hyland, 771 F.3d at 321 (same). Further, Plaintiffs’

allegations regarding the doxycycline market’s susceptibility to collusion, see CAC ¶ 202, cannot

serve as a substitute for motive. See In re Chocolate Confectionary, 999 F. Supp. 2d at 789;

Schuykill Health, 2014 U.S. Dist. LEXIS 103663 at *30. Nor is engaging in conscious parallelism

a sign of an action against self-interest. See supra Section II(A)(2)(b)(1).

                       b.      Plaintiffs do not allege any “traditional” evidence of a
                               conspiracy.

       The CAC also fails to plead the existence of any evidence implying a traditional

conspiracy. As with digoxin, the CAC lacks actual allegations that could reasonably give rise to

an inference that Defendants colluded with respect to doxycyline. Cf. Superior Offshore Int’l, 490

F. App’x at 499.      Plaintiffs’ allegations again consist of:     (1) references to government

investigations into the generic drug industry, including the guilty pleas of two former Heritage

executives; (2) insinuations concerning Defendants’ membership in a trade association and

attendance at trade association meetings; and (3) a few public statements from certain Defendants’

executives to investors.    These allegations are neither capable of creating an inference of

conspiracy nor sufficiently tailored to Plaintiffs’ claims.




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                                 (1)      Government investigations are not a plus factor here.

        Plaintiffs’ allegations regarding government investigations are insufficient to establish a

plus factor. Investigations by Congress, the DOJ, and the Connecticut Attorney General into

generic drug prices in general, and the guilty pleas of Glazer and Malek, are not sufficient to save

Plaintiffs’ claims. See supra Section II(A)(2)(b)(2)(a).

        As previously discussed, courts assign little to no weight to such allegations. See In re

Graphics Processing Units, 527 F. Supp. 2d at 1024 (holding existence of investigations “carries

no weight” and is “non-factor” in “pleading an antitrust conspiracy claim”); see also Footbridge

Ltd. v. Countrywide Home Loans, Inc., No. 09-cv-4050-PKC, 2010 WL 3790810, at *5 (S.D.N.Y.

Sept. 28, 2010) (“strik[ing] . . . allegations . . . based on pleadings, settlements, and government

investigations”); In re Hawaiian & Guamanian Cabotage, 647 F. Supp. 2d at 1258 (dismissing

claim where plaintiff relied on DOJ investigation and criminal charges and noting “[s]imilar

attempts at cross-fertilization have been rejected by other courts, and the Court finds plaintiffs’

invocation of the DOJ investigation equally unavailing”). Failure to ascribe any weight to such

allegations makes sense because “the mere occurrence of [an] investigation is equally consistent

with Defendants’ innocence.” Superior Offshore Int’l, 738 F. Supp. 2d at 517.

        And although Glazer and Malek pleaded guilty to their roles in a conspiracy concerning

Doxy DR—the only doxycycline product Heritage makes—there are no guilty pleas, or even

indictments, evidencing a broader doxycycline conspiracy as alleged in Plaintiffs’ CAC.21




21
   Indeed, the CAC fails to allege that Sun and Actavis are being investigated with respect to any doxycycline
presentation. See CAC ¶¶ 189, 191.




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                              (2)     The trade association allegations are also insufficient.

       The CAC either speculates about the import of Defendants’ involvement in the GPhA, see

CAC ¶ 148 (“DOJ is investigating whether trade organizations are a potential vehicle for

collusion”) (emphasis added), or regurgitates conclusory allegations from the AG Complaint that

“the defendants [excluding Actavis, Par, West-Ward and Sun] routinely coordinated their schemes

through . . . industry trade shows[.]” Id. ¶ 147. No deference is due to a conclusory allegation

lifted from another complaint, and it is black-letter law that “possibility” is not “plausibility.”

Burtch, 662 F.3d at 221. Plaintiffs do not allege any facts demonstrating that Defendants’

participation in the GPhA plausibly facilitated price-fixing for doxycycline. Cf. Consol. Metal

Prods., Inc. v. Am. Petroleum Inst., 846 F.2d 284, 293-94 (5th Cir. 1988) (“[A] trade association

is not by its nature a ‘walking conspiracy.’”). As with digoxin, the CAC contains no specific

allegations that Defendants communicated about doxycycline through the GPhA; nor does it

provide any factual allegations to the effect that the price of doxycycline (or any other drug for

that matter) was actually related to GPhA activities. Indeed, the CAC does not allege that all

Defendants attended GPhA events. For example, Plaintiffs make no allegations that Mayne

representatives attended any event sponsored by the GPhA, or that West-Ward attended any events

until well after the alleged doxycycline price increases. CAC ¶ 154.

       Courts universally recognize that “mere membership in a trade association, including

attendance at meetings, is insufficient without more to give rise to an inference of conspiracy.”

Resco Prods., 158 F. Supp. 3d at 425 (quoting Zenith Radio Corp. v. Matsushita Elec. Indus. Co.,

513 F. Supp. 1100, 1149 (E.D. Pa. 1981)), and Plaintiffs’ attempt to rely on insinuation and

conclusory allegations to manufacture a “plus factor” fails for doxycycline.




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                                  (3)      Defendants’ public statements do not aid Plaintiffs’
                                           cause.

        In yet another attempt to manufacture the impression of a conspiracy, Plaintiffs rely on a

grab bag of statements from investor communications by various defendants, such as West-Ward’s

statement about “the exceptional profitability of doxycycline,” id. ¶ 137, Sun’s reference to

doxycyline as a “low competition product,” id. ¶ 143, Actavis’s referring to a “favorable” pricing

environment, id. ¶ 145, and Par’s referring to “consolidation and maturation of competitors

[having] stabilized the pricing environment.”22 Id. ¶ 146.

        These statements do not constitute a plus factor for doxycycline for the same reasons they

do not constitute a plus factor for digoxin. See supra Section II(A)(2)(b)(2)(c). The Third Circuit

has consistently held that “communications between competitors do not permit an inference of an

agreement to fix prices unless those communications rise to the level of an agreement, tacit or

otherwise.” In re Baby Food, 166 F. 3d at 126. Far from “not rising to the level of agreement,”

these communications are not even between competitors, nor do any of the statements in any way

indicate that there have been any actual communications between Defendants with respect to

pricing and marketing doxycycline, much less an express price-fixing agreement. None of these

statements remotely demonstrates any agreement to fix prices in any way, shape, or form.

Contradicting themselves, Plaintiffs attempt to use statements made by Defendants’ executives to

investors and journalists, in public and hidden from no one, as somehow establishing a clandestine

price-fixing and market-allocating conspiracy.

        As with all of the Plaintiffs’ allegations, these claims are long on verbiage, but short on

actual facts, and the CAC should be dismissed.


22
  Statements made by Lanett’s CEO during earnings calls have no relation to the alleged doxycycline conspiracy as
Lannett is not alleged to, and does not, manufacture any doxycycline product at issue here.




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                                              *    *    *    *     *

         The collective weight of these deficiencies in Plaintiffs’ CAC compels the conclusion that

this case should be dismissed, and sets this case apart from others that have survived at the motion-

to-dismiss stage, such as In re Blood Reagents Antitrust Litig., 756 F. Supp. 2d 623 (E.D. Pa.

2010).

         In stark contrast to the CAC here, the Blood Reagents plaintiffs pleaded numerous detailed

factual allegations against each defendant that the court found established a context of concerted

action when viewed together. See id. at 631. The price increase at the beginning of the alleged

conspiracy period marked the first industry price increase in 15 years, and each defendant’s prices

kept increasing, often by triple digits, for the next eight years (in contrast to the limited period of

average price increases alleged here, followed by decreases).23 Id. Further, the defendants

cancelled contracts with group purchasing organizations that would not accept price increases, and

one defendant publicly stated it did so solely “for the purpose of increasing prices to the members

of each group.” Id. at 627. The defendants also hired each other’s high-level employees and “the

personal networks and relationships that these employees brought with them [made] the allegations

of conspiracy more plausible.” Id. at 632.

         Unlike the specific allegations of the Blood Reagents plaintiffs, Plaintiffs in this case come

nowhere close to meeting the requirement of plausibility. See also In re McWane, Inc., No. 9351,

2013 FTC LEXIS 76, at *658 n.18 (F.T.C. May 8, 2013) (noting argument that “mere membership



23
  Dr. Schondelmeyer’s Congressional report, on which Plaintiffs place great emphasis, explains, “While there are a
number of generic drug products with very large price increases, this is not a new phenomenon.” Ex. A,
Schondelmeyer Rpt. at p. 16 (emphasis added). The report references an earlier study which found that “of 35,143
drug products . . . 13.5% of them had experienced one or more extraordinary price increases in the period 1988 to
2008. While a few of these extraordinary price increases occurred in the 1990s, the vast majority were found in the
2000s.” Id. Accordingly, the price increases alleged in the CAC do not represent an abrupt, unprecedented shift in
industry pricing practices.




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in a trade association [was] a ‘plus factor’ evincing agreement [was] without merit” and

commenting that counsel’s reliance on Blood Reagents was misplaced), aff’d in relevant part,

2014 FTC LEXIS 28 (F.T.C. Jan. 30, 2014).

                                        CONCLUSION

       Try as they might, Plaintiffs do not, and cannot, plead a plausible antitrust claim against

Defendants here. A two-product, over-arching conspiracy is illogical because Defendants that

only make one drug would have absolutely no reason to be in a conspiracy to fix the price of a

product or allocate markets for a product they do not make. Plaintiffs’ allegations related to the

purported doxycycline and digoxin conspiracy also do not hold up to scrutiny, as they are overrun

by conclusory statements devoid of any actionable facts. For all of the foregoing reasons,

Defendants respectfully request that the Court dismiss the CAC with prejudice.

Respectfully submitted,

/s/ John E. Schmidtlein                             /s/ Gerald E. Arth
John E. Schmidtlein                                 Gerald E. Arth
Sarah F. Teich                                      Theodore H. Jobes
WILLIAMS & CONNOLLY LLP                             Ryan T. Becker
725 Twelfth Street, N.W.                            FOX ROTHSCHILD LLP
Washington, D.C. 20005                              2000 Market Street, 20th Floor
Tel: (202) 434-5000                                 Philadelphia, PA 19103
Fax: (202) 434-5029                                 Tel: (215) 299-2720
jschmidtelein@wc.com                                Fax: (215) 299-2150
steich@wc.com                                       garth@foxrothschild.com
                                                    tjobes@foxrothschild.com
Attorneys for Defendant                             rbecker@foxrothschild.com
Par Pharmaceutical, Inc.
                                                    George G. Gordon
                                                    Stephen D. Brown
                                                    Julia Chapman
                                                    Christopher Trueax
                                                    DECHERT LLP
                                                    2929 Arch Street
                                                    Philadelphia, PA 19104-2808
                                                    Tel: (215) 994-2000
                                                    Fax: (215) 994-2222



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                                      george.gordon@dechert.com
                                      stephen.brown@dechert.com
                                      julia.chapman@dechert.com
                                      christopher.trueax@dechert.com

                                      Attorneys for Defendant
                                      Lannett Company, Inc.




/s/ Jan P. Levine                     /s/ J. Douglas Baldridge
Jan P. Levine                         J. Douglas Baldridge
Robin P. Sumner                       Lisa Jose Fales
Michael J. Hartman                    Danielle R. Foley
PEPPER HAMILTON LLP                   VENABLE LLP
3000 Two Logan Square                 575 7th Street, NW
Eighteenth & Arch Streets             Washington, DC 20004
Philadelphia, PA 19103-2799           Tel: (202) 344-4000
Tel: (215) 981-4000                   jbaldridge@venable.com
Fax: (215) 981-4750                   ljfales@venable.com
levinej@pepperlaw.com                 drfoley@venable.com
sumnerr@pepperlaw.com
harmanm@pepperlaw.com                 Thomas J. Welling
                                      VENABLE LLP
Jeffrey A. Carr                       1270 Avenue of the Americas
PEPPER HAMILTON LLP                   24th Floor
301 Carnegie Center – Suite 400       New York, NY 10020
Princeton, NJ 08543                   Tel. (212) 307-5500
Tel: (609) 951-4116                   tjwelling@venable.com
carrj@pepperlaw.com

Keith J. Harrison                     Attorneys for Defendant
Shari Ross Lahlou                     Sun Pharmaceutical Industries, Inc.
Astor H.L. Heaven
CROWELL & MORING LLP
1001 Pennsylvania Avenue, NW
Washington, D.C. 20004-2595
Tel: (202) 624-2500
Fax: (202) 24-5116
kharrison@crowell.com
slahlou@crowell.com
aheaven@crowell.com

Attorneys for Defendant
West-Ward Pharmaceuticals Corp.
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 /s/ Michael Martinez                      /s/ Raymond A. Jacobsen, Jr.
Michael Martinez                          Raymond A. Jacobsen, Jr.
Steven Kowal                              Paul M. Thompson
Lauren Norris Donahue                     Lisa A. Peterson
Brian J. Smith                            MCDERMOTT WILL & EMERY LLP
K& L GATES LLP                            500 N. Capitol Street, NW
70 W. Madison Street, Suite 3100          Washington, DC 20001
Chicago, IL 60602                         Tel: (202) 756-8000
Tel: (312) 372-1121                       rayjacobsen@mwe.com
Fax: (312) 872-8000                       pthompson@mwe.com
michael.martinez@klgates.com              lpeterson@mwe.com
steven.kowal@klgates.com
lauren.donahue@klgates.com                David L. Hanselman, Jr.
brian.j.smith@klgates.com                 MCDERMOTT WILL & EMERY LLP
                                          227 W. Monroe Street
Attorneys for Defendant                   Chicago, IL 60605-5096
Mayne Pharma Inc.                         Tel: (312) 984-3610
                                          dhanselman@mwe.com

                                          Nicole L. Castle
                                          MCDERMOTT WILL & EMERY LLP
                                          340 Madison Avenue
                                          New York, NY 10173
                                          Tel: (212) 547.5400
                                          ncastle@mwe.com

                                          Attorneys for Defendant
                                          Impax Laboratories, Inc.




/s/ Chul Pak                              /s/ Marc E. Kasowitz
Chul Pak                                  Marc E. Kasowitz
Jeffrey C. Bank                           Hector Torres
WILSON SONSINI GOODRICH & ROSATI          Sheron Korpus
PC                                        Seth B. Davis
1301 Avenue of the Americas, 40th Floor   Seth A. Moskowitz
Tel: (212) 497-7726                       David M. Max
Fax: (212) 999-5899                       KASOWITZ BENSON TORRES LLP
cpak@wsgr.com                             1633 Broadway
jbank@wsgr.com                            New York, NY 10019
                                          Tel: (212) 506-1700
Seth C. Silber                            Fax: (212) 506-1800
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WILSON SONSINI GOODRICH & ROSATI              mkasowitz@kasowitz.com
PC                                            htorres@kasowitz.com 
1700 K. Street – 5th Floor                    skorpus@kasowitz.com
Washington, D.C. 20006                        sdavis@kasowitz.com
silber@wsgr.com                               smoskowitz@kasowitz.com
                                              dmax@kasowitz.com
Alexander B. Bowerman
HOGAN LOVELLS US LLP
1835 Market Street – 29th Floor               Attorneys for Defendant
Phladelphia, PA 19103                         Actavis Holdco U.S., Inc.
alexander.bowerman@hoganlovells.com

Attorneys for Defendants
Mylan, Inc. and Mylan Pharmaceuticals, Inc.

Dated: March 28, 2017
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